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 4
     Attorney for Defendant
 5   BENJAMIN BUDOFF
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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )                  NO. 08-CR-116 KJM
12               Plaintiff,              )
                                         )                  APPLICATION FOR
13   v.                                  )                  TRANSPORTATION, SUBSISTENCE,
                                         )                  AND LODGING [PROPOSED] ORDER;
14   BENJAMIN BUDOFF,                    )                  ORDER FOR TRANSPORTATION,
                                         )                  SUBSISTENCE, AND LODGING
15               Defendant.              )                  PURSUANT TO 18 U.S.C. 4285
                                         )
16   ____________________________________)
17
     Procedural History
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            In this matter, it is anticipated that defendant Benjamin Budoff’s hearing on pre-trial
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     motions in limine will be held on September 6, 2013, at 9:00 a.m. as stated by the court on July
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     31, 2013, by the Honorable United States District Judge Kimberly J. Mueller. Mr. Budoff’s jury
21
     trial is set to commence on Monday, September 9, 2013 at 9:00 a.m. and is expected to last
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     approximately four weeks. Mr. Budoff’s personal appearance is required at trial and only 2 days
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     separate the hearing on pre-trial motions in limine and jury trial. Additionally, it is important that
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     Mr. Budoff be present in Sacramento the week prior to trial in order to meet and confer with
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     counsel in preparation for trial. Mr. Budoff resides in Colorado Springs, Colorado, is indigent
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     and unable to afford transportation to Sacramento, California, where his personal appearance is
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     required for trial, nor does he has funds for subsistence and lodging during the time period set for
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 1   trial.
 2   Application
 3            Application is hereby made for an Order for transportation, subsistence, and lodging for
 4   defendant Benjamin Budoff to enable him to attend the pre-trial motions in limine hearing in the
 5   above-referenced matter scheduled for September 6, 2013, at 9:00 a.m. before the Honorable
 6   Kimberly J. Mueller, through the completion of jury trial, which is expected to last
 7   approximately four weeks.
 8            Mr. Budoff has advised counsel that he is unable to afford travel, subsistence, and
 9   lodging from September 5, 2013, through the completion of an expected four week jury trial. As
10   such, Mr. Budoff is requesting an Order authorizing the following:
11            1. Mr. Budoff is requesting an Order authorizing the arrangement of transportation for his
12            one-way travel from Colorado Springs, Colorado, to Sacramento, California, on
13            September 5, 2013, so that he may confer with counsel after his arrival and before the
14            pre-trial motions in limine hearing on September 6, 2013, and the commencement of his
15            jury trial on September 9, 2013, pursuant to 18 U.S.C. Section 4285.
16
              2. Mr. Budoff is requesting an Order authorizing the payment of money for subsistence
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              and lodging from September 5, 2013, through October 4, 2013, which is the expected
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              completion of his jury trial; not to exceed the per diem amount authorized under Section
19
              5702(a) of Title 5, United States Code, and pursuant to 18 U.S.C. Section 4285.
20
21            3. Mr. Budoff is requesting an Order authorizing the arrangement of transportation for his

22            one-way travel after jury trial from Sacramento, California, to Colorado Springs,

23            Colorado, at a date to be determined, pursuant to 18 U.S.C. Section 4285.

24
              Wherefore, in the interests of justice, the Court is requested to arrange for Benjamin
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     Budoff means of noncustodial transportation or furnish the fare for such transportation from
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     Colorado Springs, Colorado, to Sacramento, California, which is the place where his appearance
27
     is required; to direct the United States Marshal to furnish Benjamin Budoff with an amount of
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 1   money for subsistence and lodging expenses during his stay for jury trial which is expected to
 2   last four weeks and where his appearance is required, not to exceed the per diem amount
 3   authorized under Section 5702(a) of Title 5, United States Code, and pursuant to 18 U.S.C.
 4   Section 4285; and to furnish the fare for such transportation for Mr. Budoff’s return after
 5   completion of jury trial from Sacramento, California to Colordo Springs, Colorado.
 6
 7   Dated: July 31, 2013                                 Respectfully submitted,
 8
 9                                                                  /s/
                                                          DWIGHT M. SAMUEL
10                                                        Attorney for Defendant
                                                          BENJAMIN BUDOFF
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 1                                                 ORDER
 2           TO: UNITED STATES MARSHAL, EASTERN DISTRICT OF CALIFORNIA.
 3   GOOD CAUSE APPEARING, AND IN THE INTERESTS OF JUSTICE, IT IS ORDERED
 4   THAT:
 5           The United States Marshal for the Eastern District of California is authorized and
 6   directed to furnish the above-named defendant, Benjamin Budoff, with one-way transportation
 7   from Colorado Springs, Colorado, to Sacramento, California, on September 5, 2013, for Mr.
 8   Budoff’s appearance at the pre-trial motions in limine hearing on September 6, 2013, at 9:00
 9   a.m. in the United States District Court for the Eastern District of California, and for his
10   mandatory appearance at his jury trial commencing on Monday, September 9, 2013 at 1:30 p.m.,
11   in the United States District Court for the Eastern District of California; and to furnish Benjamin
12   Budoff with an amount of money for subsistence and lodging from the date of the pre-trial
13   motions in limine hearing, which is September 5, 2013 through October 4, 2013, which is the
14   expected duration of jury trial at which his personal appearance is required, not to exceed the per
15   diem amount authorized under Section 5702(a) of Title 5, United States Code and pursuant to 18
16   U.S.C. Section 4285; and for Mr. Budoff’s one-way return after the completion of his jury trial
17   from Sacramento, California, to Colorado Springs, Colorado, at a date to be determined.
18           Mr. Budoff is indigent and financially unable to travel to Sacramento, California, and
19   return to Colorado Springs, Colorado, without transportation expenses, and is financially unable
20   to pay for subsistence and lodging during the expected four week jury trial. This request is
21   authorized pursuant to 18 U.S.C. Section 4285.
22
23   IT IS SO ORDERED.
24   Dated: August 5, 2013
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27                                                  ALLISON CLAIRE
                                                    UNITED STATES MAGISTRATE JUDGE
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